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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

TOB LLC
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:23−cv−03378
                                                                   Honorable Thomas M.
                                                                   Durkin
Partnerships and Unincorporated Associations
Identified on Schedule A
                                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 20, 2023:


       MINUTE entry before the Honorable Thomas M. Durkin: Motion for extension of
the Temporary Restraining Order [15] is granted. The Temporary Restraining Order is
extended for a period of 14 days, through 7/5/2023 (the Court will be closed on 7/3/2023
and 7/4/2023 for the Independence Day holiday). Mailed notice. (ecw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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